     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 1 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:1  PROPOSED TO BE FILED UNDER SEAL



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13
14                        UNITED STATES DISTRICT COURT
15                       CENTRAL DISTRICT OF CALIFORNIA
16
                                        )     Case No. 2:24-cv-9566
17    FEDERAL TRADE                     )
18    COMMISSION,                       )
                                        )     COMPLAINT FOR PERMANENT
19                                            INJUNCTION, MONETARY
                         Plaintiff,     )
20                                      )     JUDGMENT, AND OTHER
                    v.                  )     RELIEF
21
                                        )
22    DAVE, INC., a Delaware            )
23    corporation,                      )
                                        )
24                       Defendant.     )
25                                      )
26
27         Plaintiff, the Federal Trade Commission (“FTC” or “Commission”), for its
28 Complaint alleges:
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 2 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:2  PROPOSED TO BE FILED UNDER SEAL



1          1.     The FTC brings this action for Defendant’s violations of Section 5(a)
2    of the FTC Act, 15 U.S.C. § 45(a), and Section 4 of the Restore Online Shoppers’
3    Confidence Act (“ROSCA”), 15 U.S.C. § 8403. For these violations, the FTC
4    seeks relief, including a permanent injunction, monetary relief, and other relief,
5    pursuant to Sections 13(b) and 19 of the FTC Act, 15 U.S.C. §§ 53(b) and 57b, and
6    ROSCA, 15 U.S.C. § 8404.
7                               SUMMARY OF THE CASE
8          2.     Dave operates a personal finance mobile application that it advertises
9    as offering short-term cash advances. Dave describes the market for its mobile app
10 as consumers who are “financially vulnerable” or “financially coping,” including
11 those whose spending exceeds their income, who have minimal savings, and who
12 overdraft their bank accounts frequently.
13         3.     Much of Dave’s advertising is dominated by text and images urging
14 consumers to “get up to $500” with Dave “instantly,” simply by downloading the
15 app. In reality, however, few consumers who download and use Dave’s app
16 receive cash advance offers of $500, or of amounts anywhere near $500. In the
17 first 14 months after Dave began advertising advances of up to $500, when
18 determining whether and in what amount to offer an advance to a new user,
19
20
                                                                                   -
21                                                                                And
22 despite Dave’s claims about “instant” cash, those who are able to get an advance
23 must pay a previously undisclosed “Express Fee” of $3 to $25 in order to avoid
24 waiting two to three business days for their money.
25         4.     On many advances, Dave takes an additional charge—by default, 15%
26 of the advance—that Dave refers to as a “tip.” Many consumers are either
27 unaware that Dave is charging them or unaware that there is any way to avoid
28 being charged. Dave also falsely claims that, based on the consumer’s payment of

                                              -2-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 3 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:3  PROPOSED TO BE FILED UNDER SEAL



1    this charge, Dave will pay for or donate a specified number of meals to feed
2    hungry children. In truth, however, Dave does not provide the meals as claimed,
3    and instead makes only a token charitable donation—usually $1.50 or less—while
4    keeping the bulk of the charge for itself.
5          5.     Dave also charges all consumers—even those who cannot get an
6    advance—a $1 monthly membership subscription fee, frequently without their
7    knowledge or consent. Consumers who realize that Dave has been charging them
8    and seek to stop the charge often find that Dave’s mechanisms for doing so are
9    unavailable or effort-intensive.
10                             JURISDICTION AND VENUE
11         6.     This Court has subject matter jurisdiction pursuant to 28 U.S.C.
12 §§ 1331, 1337(a), and 1345.
13         7.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1), (b)(2),
14 (c)(2), and (d), and 15 U.S.C. § 53(b).
15                                     PLAINTIFF
16         8.     The FTC is an independent agency of the United States Government
17 created by the FTC Act, which authorizes the FTC to commence this district court
18 civil action by its own attorneys. 15 U.S.C. §§ 41–58. The FTC enforces
19 Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), which prohibits unfair or deceptive
20 acts or practices in or affecting commerce. The FTC also enforces ROSCA,
21 15 U.S.C. §§ 8401–8405, which, inter alia, prohibits the sale of goods or services
22 on the Internet through negative option marketing without meeting certain
23 requirements to protect consumers. A negative option is an offer in which the
24 seller treats a consumer’s silence—their failure to reject an offer or cancel an
25 agreement—as consent to be charged for goods or services. 16 C.F.R. § 310.2(w).
26                                DEFENDANT
27         9.     Defendant Dave, Inc., (“Dave”) is a Delaware corporation with its
28 principal place of business at 1265 South Cochran Avenue, Los Angeles,

                                                  -3-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 4 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:4  PROPOSED TO BE FILED UNDER SEAL



1    California. Dave transacts or has transacted business in this District and
2    throughout the United States. At all times relevant to this Complaint, acting alone
3    or in concert with others, Dave has advertised, marketed, distributed, or sold a
4    personal finance mobile application that offers short-term cash advances to
5    consumers throughout the United States.
6                                      COMMERCE
7          10.    At all times relevant to this Complaint, Defendant has maintained a
8    substantial course of trade in or affecting commerce, as “commerce” is defined in
9  Section 4 of the FTC Act, 15 U.S.C. § 44.
10                    DEFENDANT’S BUSINESS ACTIVITIES
11         11.    Dave operates a personal finance mobile application that is available
12 for download through the Apple App Store and Google Play Store. Dave
13 advertises its app as a tool that offers short-term cash advances to cover
14 unexpected emergencies and avoid the financial penalties (such as overdraft fees)
15 that can attend them. Dave calls its advances “Extra Cash” and says consumers
16 can receive amounts “up to $500.”
17         12.    Dave requires consumers who use its app to provide information
18 about their bank accounts to “link” them to the Dave app. Dave uses this
19 information to debit consumers’ bank accounts to collect on advances and other
20 charges.
21        Dave Deceptively Advertises “Instant” Cash Advances of Up to $500
22         13.    Dave advertises its app to consumers online and through social media.
23 Dave represents in its advertising that consumers can obtain cash advances of up to
24 $500 whenever they need them. That amount has increased over time; in earlier
25 periods, Dave advertised advances of up to $75, $100, and $250. Dave’s
26 advertisements emphasize that consumers can receive cash “instantly,” “on the
27 spot,” “now,” and “in under 5 minutes”; “[a]ll you have to do is download this
28 app.” Dave reinforces these claims in the Apple App and Google Play Stores,

                                              -4-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 5 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:5  PROPOSED TO BE FILED UNDER SEAL



1    where consumers download the app, and on the app itself, during the process of
2    enrolling with Dave.
3          14.    In reality, only a miniscule number of consumers who respond to
4    Dave’s advertising by downloading the app are offered cash advances in amounts
5    anywhere close to the amounts advertised, and many are not offered any cash
6    advance at all. And consumers who are offered an advance must pay an “Express
7    Fee” of $3 to $25 to avoid a delay of two to three business days in receiving the
8    funds Dave promised “instantly.”
9                      Misrepresentations Online and in Social Media
10         15.    Since at least 2020, Dave has advertised its cash advance product on
11 social media platforms such as Facebook, Instagram, and TikTok. Most of Dave’s
12 users come to the app through an ad. Dave’s ads expressly and prominently tell
13 consumers that they will be able to receive cash advances of up to $500,
14 “instantly,” or “in under 5 minutes,” if they download the Dave app. Examples of
15 these ads appear below.
16
17            Get Up To
18
         oave $500 instantly
19
20
21
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     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 6 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:6  PROPOSED TO BE FILED UNDER SEAL



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16         16.    Dave’s ads emphasize that consumers can get up to $500 immediately
17 after downloading the app. Dave’s video ads often feature fictitious scenarios in
18 which a stuffed bear representing Dave appears before an actor facing a difficult
19 financial situation and, often through a zap of green lightning, appears to transfer
20 $500 to the actor’s smartphone. Phrases like “Tap for up to $500,” “Get up to
21 $500 on the spot,” “instantly,” and “Get cash now” appear onscreen throughout a
22 typical ad of this type. A voiceover in these ads typically states, “Download Dave
23 and get up to $500 instantly. No interest. No credit check.”
24         17.    Dave’s ads have contained similar messages for years. When the
25 maximum amount Dave offered was $75 and later $100, Dave’s ads told
26 consumers Dave could “instantly send [them] up to $75. Just pay it back in 10
27 days.” And that “All [they] need to do is download this app” to receive up to the
28 maximum amount “in 90 seconds.” Examples of these ads appear below.

                                             -6-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 7 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:7  PROPOSED TO BE FILED UNDER SEAL



1                Dave - Banking & Cash
                 Advance                               X                        Dave - Banking & Cash
                                                                                Advance                                    X
2
                 S1>0nsored
                                                                                Spons0<ed
          The Dave App can instantly send you up to $75.                 Get up to $1 00 in 90 seconds. All you have to do
          Just pay it back in 1Odays. No credit check
3
                                                                         Is download this app. 0% Interest and pay it
          required.                                                      back on payday.


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11
                                                                         Get Up To $100 In 90
12        Get Up To $75 in 90
                                           Install now
                                                                         Seconds!
                                                                                                             Download

          Seconds!
13
14         18.         Many of Dave’s ads promoting instant cash show screens from the
15 user experience inviting consumers to select an amount up to $500. Examples of
16 these ads appear below.
17                                                                                            Dave - Banking & Cash
                                                                                              Advance                                 X
                              Dave - Banklng & Cash
18
                                                                                              Sponaorl!td
                              Advance                               X                 Need cash? Get up t o $500 instant ly with
                              Spon   ed
                                                                                      ExtraCash~. No interest No credit check.
19                    Need cash? Get up to $500 instantly with
                      Extracash• . No interest. No cred it check.
                                                                                                            oave
20
                        Need cash? Download Dave
21                                                                                                                     _.. ,

22
                                                                                                     You're approved for

23

                                                                                                     -
                                                                                                     a $500 ExtraCash-
                                                                                                            advance!


24
                                                                                                              $2SO


25                                                                                                            SlOO     )

26
27                    Up to $500 with ExtraCash •          Download

28
                                                                                      Up to $500 with ExtraCash -              Download




                                                                        -7-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 8 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:8  PROPOSED TO BE FILED UNDER SEAL



1          19.   Other Dave video advertisements depict fictitious scenarios in which
2    actors are shown learning about the Dave app and immediately receiving $500. In
3    one ad, for example, an actor is shown at a gas pump, unable to afford gas for his
4    car. A stuffed bear appears, holding a phone that prominently shows “$500” on its
5    screen. The bear introduces himself as “Dave” and explains that it can get the
6    actor “up to $500 of your future money, now.” The actor asks, “$500? Instantly?”
7    The bear confirms: “instantly.” When the actor looks at his phone, the screen
8    reads, “Your $500 is on its way.” A voiceover in ads states, “Download Dave and
9    get up to $500 instantly. No interest. No credit check.”
10         20.   In another video ad, a stuffed bear sits silently under two lines of text
11 that read “Get up to $500 instantly” and “Download Dave now.” Next, a door falls
12 off a cabinet in the background. The bear then says, “Expect the unexpected.
13 Download Dave. Get up to $500 instantly, when you need it most.” The next
14 screen contains a smartphone prominently displaying the text “$500,” the Dave
15 logo, and the text “Get your future money now. No interest. No credit check.”
16                     Misrepresentations in the Enrollment Process
17         21.   Dave’s app store content repeats and reinforces Dave’s advertising
18 claims that consumers are just moments away from receiving “up to $500” if they
19 download the Dave app. Once consumers download the app, Dave emphasizes
20 these claims again in the enrollment process through which Dave obtains access to
21 consumers’ bank accounts by having them “link” their account to the app.
22         22.   Consumers can download the Dave app to their smartphones through
23 the Apple App Store or the Google Play Store. In the Google Play Store, for
24 example, a search for Dave’s app will pull up a listing that invites consumers to
25 “Advance up to 500 dollars.” A consumer who swipes through the app listing’s
26 carousel of advertising screens will again see the claim that consumers can receive
27 “up to $500 in 5 minutes or less.” Similar content appears in the Apple App Store.
28

                                             -8-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 9 of 33 Page ID
       REDACTED VERSION OF DOCUMENT#:9  PROPOSED TO BE FILED UNDER SEAL



1          23.   After consumers download and open the Dave app on their
2    smartphones, consumers encounter a welcome screen that tells them, “Get up to
3    $500 when you need it*” and shows a smartphone screen displaying an available
4    balance of $500. The screen includes a large, prominent green button that invites
5    consumers to “Sign up for Dave.” An example of this screen follows:
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                                                              ~




11
12
13                              Simulated product experience.

14
                               Get up to $500 when
15                             you need it*
16
                                No interest, no credit check.

                                • see terms

17
18                                                      Sign up for Dave



19                                       Already have an account? Login



20
21         24.   The app ushers consumers through a series of enrollment screens in
22 which consumers must, among other things, create a sign-in ID using their email
23 address and enter their name and phone number. Consumers are then posed a
24 prompt—“What can we help you with today?”—for which one of the responses is
25 “Accessing up to $500.” A consumer who selects that option is taken to a screen
26 which states, “Get an ExtraCash advance up to $500*.” An example of this screen
27 follows:
28

                                                                      -9-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 10 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
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5
6
7                                Get an ExtraCash
                                 advance up to $500*
8
                                 Open your ExtraCash and Dave Spending accounts to

9                                get started.



10
                                 See how ExtraCash works




11
12
                                 · subject to eligibility requirements.




13                                                       Get started


14                                                     CD
                                    Home            Accounts          ExtraCash   Grow


15
16
17         25.   A prominent green button at the bottom of the screen invites
18 consumers to “Get started.” After a consumer taps “Get started,” Dave has
19 displayed a screen headed “Connect your primary bank,” with a bright green
20 button at the bottom labeled “Connect account”: 1
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27  In the spring of 2024, while aware of the FTC’s investigation, Dave changed the
      1

   button on the screen headed “Connect your primary bank” to “Agree and continue”
28 and made other minor changes to this screen.

                                                            -10-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 11 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
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1                                  2:01


                                                                                    X
2
3
4
5
                                Connect your primary bank
6                               Connect the bank account you get paid to, and get

7
                                approved for the highest amount.


                                  iii     Take interest•free advances
8
                                  $
9
                                          Get money instantly for a small fee




10
                                  ;;      Th r '   10   <lit ch r-1( o mr   t




11                              Oave charges a membership fee of $1 per month to
                                connect your bank. Questions? See our FAQs.


12                                                 Connect account

13                                          I don't have a bank account

14
15         26.   Even if a consumer were to tap on and review the content hidden
16 behind either the “See terms” link on the screen headed “Get up to $500 when you
17 need it*” or on the “See how ExtraCash works” link on the screen headed “Get an
18 ExtraCash advance up to $500*,” they would not be shown any of the following
19 information: (i) that Dave offers cash advances at or near the amounts advertised
20 to very few consumers; (ii) that consumers cannot obtain cash advances without
21 waiting two to three business days unless they pay an additional fee, and the details
22 of that fee; (iii) the steps consumers must take to avoid being subject to an
23 additional charge that Dave refers to as a “tip”; and (iv) that Dave charges
24 consumers a recurring membership subscription fee.
25         27.   Immediately after consumers tap “Connect account,” Dave solicits
26 information about their bank accounts to “link” the accounts to Dave. Dave uses
27 this information to collect on advances and take other charges from consumers’
28 bank accounts.

                                                              -11-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 12 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:12



1           28.    After a consumer has granted Dave access to their bank account and
2     completed the enrollment process, the Dave app shows the consumer different
3     screens depending on whether Dave is offering the consumer an advance. Each
4     time the consumer later uses the app and accesses either the home screen or the
5     “Extra Cash” section of the app, Dave makes a fresh determination of whether to
6     offer the consumer an advance. If Dave offers the consumer an advance, it
7     displays the advance amount on the screen.
8                 Dave Offers Far Less in Cash Advances Than Advertised
9                         and Charges Multiple Undisclosed Fees
10          29.    After enrolling, the overwhelming majority of consumers discover
11 that Dave either will not offer them a cash advance at all, or will only offer them
12 advances that are much smaller than advertised.
13          30.    Making matters worse, Dave charges consumers at least three types of
14 fees that it does not clearly and conspicuously disclose before it obtains access to
15 their bank accounts:
16                 a.    an “Express Fee” of $3 to $25 to get an advance instantly, as
17                       advertised, instead of two to three business days later;
18                 b.    an additional charge—imposed in many instances without the
19                       consumer’s knowledge or consent—that Dave refers to as a
20                       “tip” and falsely claims will cause it to donate a specific
21                       number of meals to feed hungry children; and
22                 c.    a $1 monthly membership fee, also frequently imposed without
23                       consumers’ knowledge or consent.
24                Dave Provides Far Less Than the Advertised Cash Advance
25          31.    Despite Dave’s numerous prominent claims that consumers will
26 receive cash advances of up to $500, few customers are offered anything close to
27 that, if Dave offers them anything at all. In the first 14 months after Dave began
28 advertising advances of up to $500, when determining whether and in what amount

                                              -12-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 13 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:13



1     to offer an advance to a new user,
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6           32.
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13          33.   Consumers who are not new to Dave also receive offers that are much
14 less than advertised. In the first 14 months after Dave began advertising advances
15 of up to $500,
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17
18
19          34.   Neither Dave’s ads nor its app store content inform consumers that
20 Dave offers cash advances at or near the amount advertised to very few consumers.
21 Other than prominent representations such as “Get up to $500,” the only references
22 to the amount of consumers’ advances in Dave’s advertising or app store listings
23 typically are in small print, are buried in block text, use vague or confusing
24 language, and/or are found in obscure locations.
25          35.    Many consumers believe Dave’s claims that they will get up to $500
26 upon enrolling. One consumer reported that Dave “[c]laims you can borrow up to
27 500.00 dollars. But, I only was able to get 25.00. Not very helpful.” Another
28 consumer wrote that they “have not been able to do any advances at all[;] my

                                             -13-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 14 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:14



1     advance amount stays at zero but yet I get emails daily with lies that they do $500
2     advances[;] just a scam in my opinion.” Yet another consumer complained that
3     Dave’s advertising was “[m]isleading....you’re not guaranteed $400 or $500.”
4           36.    Many consumers make clear that they would not have signed up for
5     Dave if they had known Dave would offer far less than promised. One consumer
6     tried to cancel because “[d]espite making decent money, they wouldn’t loan me
7     more than $5.” Another consumer complained they “got 2 small cash advances
8     and paid them OFF ON TIME. They kept promising 500 for the past month and
9     NEVER delivered. I Uninstalled this useless app from this useless company.” Yet
10 another consumer said “I downloaded Dave because I needed some money[;] they
11 say u can get up to 500 well they only allowed me 25 . . . to me it was just a waste
12 of my time. . . . I paid them back and will be deleting this account.” Still another
13 consumer reported, “Every time you’ll tell me you’re going to give me $500[]
14 Advance I put in my bank Information . . . . And then you never do it. . . . Stop
15 with the lies.”
16          37.    Internal documents reflect that
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      -                                       -14-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 15 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
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1                            Dave Charges an Undisclosed Fee to
2                       Get Cash Advances “Instantly,” as Advertised
3           39.    Although Dave advertises that consumers will receive funds
4     “instantly,” “on the spot,” “now,” and “in under 5 minutes,” Dave in fact requires
5     consumers to wait two to three business days before receiving their advance unless
6     they pay Dave a previously undisclosed “Express Fee” of $3 to $25.
7           40.    Consumers who open the Dave app for the first time and proceed
8     directly to attempt to take an advance will see the Express Fee only after they have
9     connected their bank accounts and are accepting an advance offered by Dave. ■
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15          41.    Instead, the earlier screens that a consumer encounters in attempting
16 to take an advance include only a vague statement on this topic. The screen
17 headed “Connect your primary bank,” pictured in Paragraph 25 above, contains in
18 text that is smaller and fainter than either the screen’s bold-print heading or the
19 large green button labeled “Connect account,” the statement “Get money instantly
20 for a small fee.” This statement does not inform consumers that, if they do not pay
21 the unspecified “small fee,” Dave will require them to wait two to three business
22 days before receiving their advanced funds. This statement also does not inform
23 consumers of the amount of the fee, which ranges from $3 to $25.
24          42.    Similarly, neither Dave’s ads nor its app store content inform
25 consumers that Dave in fact requires consumers to wait two to three business days
26 before receiving their advance unless they pay Dave an “Express Fee” of $3 to
27 $25. While Dave makes prominent representations that consumers will receive
28 funds “instantly,” “on the spot,” “now,” and “in under 5 minutes,” Dave’s only

                                              -15-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 16 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:16



1     references to Express Fees in its advertising or at the app stores typically appear in
2     small print, are buried in block text, use vague or confusing language, and/or are
3     found in obscure locations, and do not state that unless consumers pay an Express
4     Fee, Dave will require them to wait two to three business days before receiving
5     their advance.
6                          Dave Deceives Consumers About Whether
7         They Are Being Charged for a “Tip” and Whether the Charge Is Avoidable
8           43.    After accepting an advance offered by Dave and selecting a transfer
9     method, consumers are taken to a screen headed “Your advance is on its way!”:
10                                  3 :20

11                                                                          Feeding America      0

12
13                                      Your advance is on its way!

14                                Your optional tip helps us stay in business. We also
                                          provide a meal for every% you tip.


15
16
17
18
19                                    10
                                   Healthy Meals
                                                              15
                                                           Healthyt-teals
                                                                                     20
                                                                                  Healthy Meals


20                                  10<:\ic S7.5U           15'½   Sll.25         200.   SlS.O




21                                                  (   Leave a custo m tip )



22                                 Your tip will be collected when you pay your settlement.




23
                                                          Thank you!



24
25          44.    A large green button labeled “Thank you!” appears at the bottom of
26 the screen. Dave charges consumers who simply tap the “Thank you!” button an
27 extra 15% of their advance. Dave calls this charge a “tip.”
28          45.    Many consumers who tap the “Thank you!” button are surprised to

                                                                    -16-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 17 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:17



1     later learn that Dave has charged them an extra 15% of their advance. Dave does
2     not mention the charge in its advertising, and consumers who open the Dave app
3     for the first time and proceed directly to attempt to take an advance do not
4     encounter any mention of this charge, or how to avoid being subject to it, before
5     granting Dave access to their bank accounts.
6           46.    Many consumers have been unknowingly subject to the extra charge
7     that Dave calls a “tip.” Many others understood this extra charge to be an
8     unavoidable part of Dave’s advance process. Consumer complaints include the
9     following:
10                 a.    “They will add a tip without your knowledge.”
11                 b.    “[I]t forces you to tip.”
12                 c.    “[M]akes you tip them . . . .”
13                 d.    “[I]t does not give me an option to not leave a tip.”
14                 e.    “Don’t hit ‘thank you’ on tip screen, you’ll see many ppl say
15                       this. It counts as agreeing to high tip & IS SNEAKY.”
16                 f.    “The interface is set up to trick you into giving the tip. . . . I
17                       feel cheated/scammed by this whole process.”
18                 g.    “[T]hey make you give a tip when you don’t want to give
19                       one . . . .”
20                 h.    “App is very deceptive and impossible to get help. It asks for a
21                       ‘tip’ when you get an advance, and it’s not obvious or clear
22                       how NOT to tip.”
23                 i.    “Deceptive, riddled with fees and default 15% tip. This app is
24                       toxic and exploiting those who want honest financial products.
25                       Shame on you.”
26                 j.    “Absolute awful app, tricks you into giving them a tip
27                       whenever you advance money. DO NOT USE!!!!”
28

                                               -17-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 18 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:18



1          47.   Internal Dave documents acknowledge both that
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10         48.
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15         49.
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20         50.   In an online chat between two Dave employees
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                                         -18-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 19 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:19



1                 Dave Deceptively Represents That It Will Pay for or Donate
2        a Specified Number of Meals Based on the “Tip” Charged to the Consumer
3           51.    In addition to deceiving consumers about whether they are being
4     charged and whether the charge is required, the screen headed “Your advance is on
5     its way!” deceptively represents that, based on the consumer’s payment of a charge
6     that Defendant refers to as a “tip,” Dave will pay for or donate a specified number
7     of “healthy meals” for children in need.
8           52.    The content between the bold-print “Your advance is on its way!”
9     heading and the large green “Thank you!” button features images of a smiling
10 cartoon child holding a spoon who is surrounded by various food items:
11
12                                                                     Fetding America     O


13
14                                    Your advance is on its way!

15
                                  Your optional tip helps us stay in business. We also
                                         provide a meal for every % you tip.



16
17
18
19
                                     10                   15                   20
20                                                     Healthy Meals




21
                                               (   Leave a custom t ip )

22                                Vour1lp wlll be collected when you pay your settlement


23                                                   Thank you!


24
25          53.    Beneath the images of the child and nine food items are three boxes
26 labeled “10 Healthy Meals,” “15 Healthy Meals,” and “20 Healthy Meals.” If the
27 consumer taps on “20 Healthy Meals,” the number of food items around the child
28 increases to twelve. If the consumer taps on “10 Healthy Meals,” the number of

                                                                 -19-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 20 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:20



1     food items around the child drops.
2           54.    Many consumers tap the prominent green “Thank you!” button on this
3     screen. Dave charges these consumers between 10% and 20% of their advance
4     amount.
5           55.    To avoid this outcome, consumers must first notice and tap the “Leave
6     a custom tip” button, which is about half as long as the “Thank you!” button and—
7     unlike the “Thank you!” button, which is colored green against a white
8     background—is colored white against a white background. If consumers tap this
9     button, the three labeled boxes are replaced with a horizontal “slider.” Initially,
10 above the slider in large, bold-print text appear the words “15 Healthy Meals” and
11 an image of the cartoon child holding a spoon and surrounded by ten food items.
12          56.    If the consumer moves the slider to the right, the number of “Healthy
13 Meals” displayed increases incrementally up to 25. As the count of “Healthy
14 Meals” increases, more food items appear around the cartoon child, with twenty-
15 five items filling the screen when the count of “Healthy Meals” reaches 25:
16                                 3:20



17                                                                      Feeding America        0



18
19
                                       Your advance is on its way!
                                  Your optional tip helps us stay in business. We also


20
                                           provide a meal for every % you t ip.




21
22
23
24                                                25 Healthy Meals
                                                        $18.75(25%)


25
26                                                                                             25

                                   Your tip wi ll be collected when you pay your settlement.


27
                                                       Thank you!

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                                                                   -20-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 21 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:21



1           57.    If the consumer moves the slider to the left, the number of “Healthy
2     Meals” displayed decreases incrementally down to 0. As the slider moves to the
3     left and the count of “Healthy Meals” decreases, food items disappear from around
4     the child. If the count of “Healthy Meals” reaches 2, the only items around the
5     child are bread and water.
6           58.    To prevent Dave from charging them, the consumer must move the
7     slider fully to the left to reduce the count of “Healthy Meals” to zero. The slider
8     then turns from green to red, the text of the large green button at the bottom of the
9     screen changes from “Thank you!” to “No tip,” and the image of the child is
10 replaced by an image of an empty plate with a fork and spoon.
11          59.    The combination of the prominent imagery of multiple food items
12 surrounding the cartoon child and the bold-print language about the provision of
13 10, 15, or 20 “Healthy Meals” leads consumers to believe that, if the consumer
14 permits Dave to charge a large “tip,” Dave will pay for or donate a specified
15 number of meals for children in need.
16          60.    In truth, however, Dave does not pay for or donate a specified number
17 of meals to children in need based on the consumer’s payment of a charge that
18 Defendant refers to as a “tip.” Instead, for each percentage point of a “tip” charged
19 to a consumer, Dave donates only 10 cents, and keeps the rest. For example, in the
20 screen shown at Paragraph 52, if the consumer were to tap the “Thank you!”
21 button, Dave would not pay for or donate “15 Healthy Meals” as stated in bold
22 print surrounded by images of numerous food items, but would instead donate only
23 $1.50 to a hunger relief organization. For that organization to provide 15 meals
24 requires not merely $1.50 but also approximately 18 pounds of food, which Dave
25 does not provide.
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            61.    Dave has acknowledged in internal documents that its
                                                                           -
                                               -21-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 22 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:22



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6                                                   Despite this, Dave continues to
7     subject consumers who use its app to the “Healthy Meals” content.
8           62.   Dave’s deceptive “Healthy Meals” content succeeds in affecting
9     consumer behavior.
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18          63.
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24          64.
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                                            -22-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 23 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:23



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3                                                                 Dave has continued to present the initial
4     screen with the three “Healthy Meals” boxes to the overwhelming majority of
5     consumers who use its app.
6         Dave Takes an Undisclosed Monthly Charge From Consumers’ Accounts
7           65.   Immediately before obtaining access to consumers’ bank accounts,
8     Dave displays a screen headed “Connect your primary bank,” with a bright green
9     button at the bottom labeled “Connect account”:
10                                 2:01


11                                                                                  X

12
13
14
15                              Connect your primary bank

16                              Connect the bank account you get paid to, and get
                                approved for the highest amount.


17                                 ciii   Take interest-free advances


18                                 & Get money instantly for a small fee
19                                 ..     There' no credi check     mr t


20
                                Dave charges a membership fee of Sl per month to

21                              connect your bank. Questions? See our FAQs.




22                                                Connect account



23                                          I don't have a bank account



24
25          66.   Unbeknownst to many consumers, Dave enrolls consumers who tap
26 the “Connect account” button in a subscription that automatically renews each
27 month. Dave charges these consumers $1 monthly on a recurring basis unless the
28 consumer takes affirmative action to stop the charge. As Dave has acknowledged

                                                             -23-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 24 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:24



1     in an internal document,
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8           67.   Consumers have complained that they did not agree to be charged the
9     membership fee and did not know it existed until after they were charged.
10 Examples include the following:
11                a.     “They charge a $1 a month ‘membership fee’ which is never
12                       disclosed to you once while setting up the account.”
13                b.     “DON’T SIGN UP Unknowingly started charging me $1 a
14                       month . . . .”
15                c.     “They just started charging me a monthly fee with no notice.
16                       Watch any card you have used in this app.”
17                d.     “Huge SCAM. After signing up and realizing they would loan
18                       me $50[,] I used another source. Then they announced they
19                       decided to charge a fee, After the fact. Without my consent.”
20                e.     “[N]oticed they are charging me a membership fee. Its only $1
21                       but I didn’t know about it and had never taken any loan from
22                       them. Maybe if they had told me upfront I would be opted into
23                       their membership system . . . I would have been able to cancel
24                       it with no hard feelings after . . . .”
25                f.     “screw your app I never asked to get charged a subscription fee
26                       and then I later got charged for it . . . I never asked to get
27                       charged this at all and you otherwise authorized it without my
28                       permission”


                                                -24-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 25 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:25



1                  g.     “Never agreed to a membership, but they used my checking
2                         account information to take a membership fee even when my
3                         debit card was locked. Very dissatisfied with this.”
4           68.    Consumers who open the Dave app for the first time and proceed
5     directly to attempt to take an advance only encounter any mention of the existence
6     of the $1 membership fee on the screen headed “Connect your primary bank.”
7     This appears in text that is smaller, lighter, and/or less prominent than either the
8     heading or the bright green button labeled “Connect account.”
9                         Dave Fails to Provide Simple Mechanisms
10                      for Consumers to Stop the Recurring Charge
11          69.    Dave fails to provide simple mechanisms for consumers to stop the
12 recurring $1 “membership” charge. In the words of one consumer, “I’ve tried
13 leaving, but they literally will not let me go. I had to fight with them to delete my
14 account, and I kept getting charged the membership fee. . . . LEAVE ME ALONE.
15 I HATE DAVE.”
16          70.    Consumers who realize that Dave is charging them every month and
17 want to stop it have often been unable to find an in-app process to do so, either
18 because Dave has not provided one, because Dave does not prominently inform
19 consumers how to stop the charge, or for both reasons.
20          71.    Dave has withheld an in-app process for stopping the recurring charge
21 from many consumers. Indeed, from at least August 2021 through November
22 2022, Dave did not allow any consumers to stop the recurring charge through an
23 in-app process if they had also opened a Dave bank account (which Dave,
24 beginning in early 2022, required all new consumers to have if they wanted
25 advances). And for months after November 2022, Dave continued to withhold an
26 in-app process from many consumers.
27          72.    Additionally, Dave does not prominently inform consumers how to
28 stop the recurring charge, including what options exist for stopping the charge,

                                               -25-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 26 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:26



1     what rules apply to those options, or where any in-app processes for stopping the
2     charge can be found. Instead, consumers must themselves attempt to hunt down
3     this information.
4           73.    Some consumers are convinced that there is no way to stop the
5     recurring charge. For example, consumers have complained that “[t]hey continue
6     to charge me $1 every single month with no way to opt out” and “[t]here is no way
7     to unsubscribe and they keep charging me.”
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11          74.    Dave has obscured information about mechanisms for stopping the
12 recurring charge to such a degree that
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23          75.   -Some consumers who are unable to find an in-app process send a
24 message to Dave customer service asking to cancel the charge. Dave does not
25 simply stop the recurring charge in response to such messages. Instead, Dave will
26 do one or more of the following: (a) point the consumer to an in-app process that
27 may or may not be available for the consumer; (b) deny that Dave customer service
28 has the ability to stop the charge for the consumer; or (c) demand, in order to

                                             -26-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 27 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:27



1     cancel or “pause” the charge, that the consumer provide multiple points of personal
2     and/or financial account information. The information demanded by Dave has
3     varied but has included date of birth, phone number used to sign up for Dave, full
4     mailing address, last four digits of the consumer’s social security number, and
5     details about the last two transactions on the consumer’s external bank account.
6           76.    Some consumers find that Dave fails to act in response to requests to
7     stop the charge. As one consumer warned, “DO NOT DOWNLOAD THIS.
8     EXTREMELY HARD TO CONTACT ANYONE. THEY DON’T DELETE
9     YOUR ACCOUNT WHEN ASKED.” Another consumer wrote that “[t]he Dave
10 app won’t let me close my account . . . . I’ve literally been trying everyday for the
11 last 2 weeks, I have emailed no response, reached out for assistance no help, why
12 won’t it let me close it? . . . They just want to keep me locked in so that can
13 continue to take 1$ a month from me.”
14          77.    Dave’s demands for sensitive information from consumers are another
15 roadblock to stopping the charge.
16
17
18                           One consumer stated that “[t]hey refuse to cancel my
19 account and just tell me that I need to send more and more sensitive personal
20 information in a sloppy email to someone named ‘Ambear.’ ” For another
21 consumer who wanted to “pause” her account, it took twenty-seven days, nine
22 messages to customer support, and a threat to contact the Better Business Bureau
23 to get Dave to stop charging her.
24          78.    Moreover, consumers who learn where to find Dave’s in-app
25 processes for stopping the recurring charge often find that these processes are not
26 simple. For example, Dave requires a consumer starting on the app’s main screen
27 to take at least nine separate steps to reach and complete Dave’s current in-app
28 cancellation process. In parts of Dave’s in-app process, consumers are diverted

                                              -27-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 28 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:28



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      from cancellation if they select the most prominent option on the screen.
                                                                                  -
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8           79.   Beyond all this, in some instances, Dave has denied consumers any
9     mechanism for stopping the recurring charge, let alone simple mechanisms.
10 Specifically, Dave at times has refused to stop the recurring charge when,
11 according to Dave, the consumer has not yet fully repaid an advance.
12
13
14                        And, in the following years, customer service representatives
15 have repeatedly informed consumers that they cannot “pause” or cancel to stop the
16 recurring charge because Dave is claiming that they have an unpaid advance.
17          80.   Based on the facts and violations of law alleged in this Complaint, the
18 FTC has reason to believe that Defendant is violating or is about to violate laws
19 enforced by the Commission because, among other things:
20                a.     Defendants have engaged in their unlawful acts and practices
21                       repeatedly over a period of years;
22                b.     Defendants have earned significant revenues from participating
23                       in these unlawful acts and practices;
24                c.     Defendants have continued their unlawful acts or practices
25                       despite knowledge of numerous complaints; and
26                d.     Defendants have an incentive to continue to engage in
27                       violations and retain the means and ability to do so.
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                                             -28-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 29 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:29



1                            VIOLATIONS OF THE FTC ACT
2           81.    Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or
3     deceptive acts or practices in or affecting commerce.”
4           82.    Misrepresentations or deceptive omissions of material fact constitute
5     deceptive acts or practices prohibited by Section 5(a) of the FTC Act.
6            Count I: Misrepresentations Regarding Cash Advance Amounts
7           83.    In numerous instances in connection with the advertising, marketing,
8     promotion, offering for sale, or sale of its cash advance services, Defendant
9     represents, directly or indirectly, expressly or by implication, that the consumer
10 can get a cash advance of up to the advertised amount.
11          84.    Defendant’s representations as described in Paragraph 83 are false or
12 misleading or were not substantiated at the time the representations were made.
13          85.    Therefore, Defendant’s representations as described in Paragraph 83
14 constitute a deceptive act or practice in violation of Section 5(a) of the FTC Act,
15 15 U.S.C. § 45(a).
16             Count II: Misrepresentations Regarding “Tipping” Charges
17          86.    In numerous instances in connection with the advertising, marketing,
18 promotion, offering for sale, or sale of its cash advance services, Defendant
19 represents, directly or indirectly, expressly or by implication, that
20                 a.    tapping the “Thank you!” button on the screen headed “Your
21          advance is on the way!” simply concludes the transaction;
22                 b.    the charge that Defendant refers to as a “tip” is unavoidable;
23          and
24                 c.    based on the consumer’s payment of a charge that Defendant
25          refers to as a “tip,” Defendant will pay for or donate a specified number of
26          meals for children in need.
27          87.    Defendant’s representations as described in Paragraph 86 are false or
28 misleading or were not substantiated at the time the representations were made.

                                              -29-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 30 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:30



1           88.    Therefore, Defendant’s representations as described in Paragraph 86
2     constitute a deceptive act or practice in violation of Section 5(a) of the FTC Act,
3     15 U.S.C. § 45(a).
4                                  VIOLATIONS OF THE
5                 RESTORE ONLINE SHOPPERS’ CONFIDENCE ACT
6           89.    In 2010, Congress passed the Restore Online Shoppers’ Confidence
7     Act, 15 U.S.C. §§ 8401 et seq., which became effective on December 29, 2010.
8     Congress passed ROSCA because “[c]onsumer confidence is essential to the
9     growth of online commerce. To continue its development as a marketplace, the
10 Internet must provide consumers with clear, accurate information and give sellers
11 an opportunity to fairly compete with one another for consumers’ business.”
12 Section 2 of ROSCA, 15 U.S.C. § 8401.
13          90.    Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging
14 consumers for goods or services sold in transactions effected on the Internet
15 through a negative option feature, as that term is defined in the Commission’s
16 Telemarketing Sales Rule (“TSR”), 16 C.F.R. § 310.2(w), unless the seller
17 (1) clearly and conspicuously discloses all material terms of the transaction before
18 obtaining the consumer’s billing information, (2) obtains the consumer’s express
19 informed consent before making the charge, and (3) provides a simple mechanism
20 to stop recurring charges. 15 U.S.C. § 8403.
21          91.    The TSR defines a negative option feature as a provision in an offer or
22 agreement to sell or provide any goods or services “under which the customer’s
23 silence or failure to take an affirmative action to reject goods or services or to
24 cancel the agreement is interpreted by the seller as acceptance of the offer.”
25 16 C.F.R. § 310.2(w).
26          92.    As described in Paragraphs 11 to 79, Defendant advertises and sells its
27 Dave membership through a negative option feature as defined by the TSR.
28 16 C.F.R. § 310.2(w).

                                              -30-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 31 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:31



1           93.    Pursuant to Section 5 of ROSCA, 15 U.S.C. § 8404, and
2     Section 18(d)(3) of the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of ROSCA
3     constitutes an unfair or deceptive act or practice in violation of Section 5(a) of the
4     FTC Act, 15 U.S.C. § 45(a).
5          Count III: Failure to Provide Clear and Conspicuous Disclosures
6           94.    In numerous instances, in connection with charging consumers for
7     goods or services sold in transactions effected on the Internet through a negative
8     option feature, as described in Paragraphs 11 to 79 above, Defendant has failed to
9     clearly and conspicuously disclose before obtaining consumers’ billing information
10 all material transaction terms, including the following:
11                 a.      that Defendant offers cash advances at or near the amounts
12          advertised to very few consumers;
13                 b.      that consumers cannot obtain cash advances without waiting
14          two to three business days unless they pay an additional fee, and the details
15          of that fee;
16                 c.      that Defendant charges consumers an additional fee that it
17          refers to as a “tip,” and the steps consumers must take to avoid being
18          charged; and
19                 d.      that Defendant charges consumers a recurring membership
20          subscription fee.
21          95.    Therefore, Defendant’s acts or practices, as described in Paragraph 94,
22 violate Section 4 of ROSCA, 15 U.S.C. § 8403, and Section 5(a) of the FTC Act,
23 15 U.S.C. § 45(a).
24            Count IV: Failure to Obtain Express Informed Consent
25          96.    In numerous instances, in connection with charging consumers for
26 goods or services sold in transactions effected on the Internet through a negative
27 option feature, as described in Paragraphs 11 to 79 above, Defendant has failed to
28 obtain a consumer’s express informed consent before charging the consumer’s

                                               -31-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 32 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:32



1     credit card, debit card, bank account, or other financial account for products or
2     services through such transaction.
3           97.    Therefore, Defendant’s acts or practices, as described in Paragraph 96,
4     violate Section 4 of ROSCA, 15 U.S.C. § 8403, and Section 5(a) of the FTC Act,
5     15 U.S.C. § 45(a).
6      Count V: Failure to Provide Simple Mechanisms to Stop Recurring Charges
7           98.    In numerous instances, in connection with charging consumers for
8     goods or services sold in transactions effected on the Internet through a negative
9     option feature, as described in Paragraphs 11 to 79 above, Defendant has failed to
10 provide simple mechanisms for a consumer to stop recurring charges from being
11 placed on the consumer’s credit card, debit card, bank account, or other financial
12 account.
13          99.    Therefore, Defendant’s acts or practices, as described in Paragraph 96,
14 violate Section 4 of ROSCA, 15 U.S.C. § 8403, and Section 5(a) of the FTC Act,
15 15 U.S.C. § 45(a).
16                                   CONSUMER INJURY
17          100. Consumers are suffering, have suffered, and will continue to suffer
18 substantial injury as a result of Defendant’s violations of the FTC Act and
19 ROSCA. Absent injunctive relief by this Court, Defendant is likely to continue to
20 injure consumers and harm the public interest.
21                                  PRAYER FOR RELIEF
22          101. Wherefore, the FTC requests that the Court:
23                 A.      Enter a permanent injunction to prevent future violations of the
24          FTC Act and ROSCA;
25                 B.      Award monetary and other relief within the Court’s power to
26          grant; and
27                 C.      Award any additional relief as the Court determines to be just
28          and proper.


                                               -32-
     Case 2:24-cv-09566-MRA-AGR Document 1 Filed 11/05/24 Page 33 of 33 Page ID
        REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                      #:33



1                                    Respectfully submitted,
2
3     Dated: November 5, 2024              /s / Daniel O. Hanks
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                                        -33-
